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THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

PACITO, ef al.,
Plaintiffs, No. 2:25-cv-00255-JNW

- against — Hon. Jamal N. Whitehead
DONALD J. TRUMP, et ail.,

Defendants.
DECLARATION OF ADAM ZERBINOPOULOS
SENIOR BUREAU OFFICIAL
BUREAU OF POPULATION, REFUGEES, AND MIGRATION
DEPARTMENT OF STATE
I, Adam Zerbinopoulos, for my declaration, hereby state as follows:

1. I am the Senior Bureau Official of the Bureau of Population, Refugees, and
Migration (“PRM”) within the United States Department of State (Department of State or State
Department).! I have held this position since January 21, 2025. Prior to becoming the PRM
Senior Bureau Official, I was PRM’s Regional Director for East Asia and the Pacific. I have
been employed at the Department of State since 2008.

2. I submit this declaration in support of the U.S. government’s response to
Plaintiffs’ Motion for Emergency Conference or Show Cause Hearing.

3, On February 11, 2025, the Secretary of State directed each Department bureau to
review each grant within his or her bureau and provide a recommendation to the Office of the

Secretary on whether to continue or terminate the grant. PRM submitted its list to the Office of

the Secretary on February 21, 2025.

| The title “Senior Bureau Official” is used to refer to the senior-level official who oversees a bureau but does not
necessarily hold the title of Assistant Secretary of State.
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4. On or about February 26, 2025, the process for individually reviewing each
outstanding State Department grant and federal assistance award obligation concluded. The
Secretary of State made a final decision with respect to each such award, affirmatively electing
to either retain the award or terminate as inconsistent with the national interests and foreign -
policy of the United States.

5. Following this individualized review, the awards to all 10 resettlement agencies
providing reception and placement benefits domestically under the United States Refugee
Admissions Program (“USRAP”) and the award to HIAS, Inc. for a resettlement support center
in Austria were terminated, based on that individualized review, by the Secretary of State as
being inconsistent with the national interests and foreign policy of the United States.

6. Over 100 PRM awards were retained following this individualized review,
including USRAP-related grants to the International Organization for Migration and Church
World Services.

7. Between February 26-27, 2025, PRM provided Notices of Termination to award
recipients whose awards were terminated. Each Notice of Termination stated that the award “no
longer effectuates agency priorities and is terminated in accordance with the U.S. Department of
State Standard Terms and Conditions, 2 CFR 200.340, and/or Award Provisions as applicable.”
The Notices further directed recipients to “stop all work on the program and not incur any new
costs” but provided that “[p]ayment requests for legitimate costs incurred prior to this

notification are allowable.”

I declare under the penalty of perjury that the foregoing is true and correct to the best of my

knowledge.
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yah

Executed this day of March 2025, Washington, D.C.

Adam Zerbinopoulos
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